Case 5:19-cv-00659-AG-KK Document 1-1 Filed 04/11/19 Page 1 of 15 Page ID #:12

                                                                           Service of Process
                                                                           Transmittal
                                                                           03/12/2019
                                                                           CT Log Number 535085994
   TO:     Mark Goldzweig
           Kia Motors America, Inc.
           111 Peters Canyon Rd
           Irvine, CA 92606-1790

   RE:     Process Served in California

   FOR:    KIA MOTORS AMERICA, INC.  (Domestic State: CA)




   ENCLOSED ARE COPIES OF LEGAL PROCESS RECEIVED BY THE STATUTORY AGENT OF THE ABOVE COMPANY AS FOLLOWS:

   TITLE OF ACTION:                   DEANNA DANIELIAN and MARC DANIELIAN, Pltfs. vs. KIA MOTORS AMERICA, INC., et
                                      al., Dfts.
   DOCUMENT(S) SERVED:                Summons, Complaint, Attachment(s)
   COURT/AGENCY:                      Riverside County - Superior Court - Riverside, CA
                                      Case # RIC1901606
   NATURE OF ACTION:                  Product Liability Litigation - Lemon Law - 2017 Kia Optima Hybrid, VIN:
                                      KNAGT4LC8H5005445
   ON WHOM PROCESS WAS SERVED:        C T Corporation System, Los Angeles, CA
   DATE AND HOUR OF SERVICE:          By Process Server on 03/12/2019 at 14:55
   JURISDICTION SERVED :              California
   APPEARANCE OR ANSWER DUE:          Within 30 days after service
   ATTORNEY(S) / SENDER(S):           Jon P. Jacobs
                                      Law Offices of Jon P. Jacobs
                                      5701 Lonetree Blvd., Suite 202
                                      Rocklin, CA 95765
                                      916-663-6400
   ACTION ITEMS:                      CT has retained the current log, Retain Date: 03/13/2019, Expected Purge Date:
                                      03/18/2019

                                      Image SOP

                                      Email Notification,  Mark Goldzweig  Mgoldzweig@kiausa.com

                                      Email Notification,  Debbie Avalos  davalos@kiausa.com

                                      Email Notification,  Jennifer Yoo  jyoo@kiausa.com

                                      Email Notification,  ROBIN JUNG  rjung@kiausa.com

                                      Email Notification,  Kari Pearsall  kpearsall@kiausa.com

   SIGNED:                            C T Corporation System
   ADDRESS:                           818 West Seventh Street
                                      Los Angeles, CA 90017




                                                                           Page 1 of  2 / AS
                                                                           Information displayed on this transmittal is for CT
                                                                           Corporation's record keeping purposes only and is provided to
                                                                           the recipient for quick reference. This information does not
                                                                           constitute a legal opinion as to the nature of action, the
                                                                           amount of damages, the answer date, or any information
                                                                           contained in the documents themselves. Recipient is
                                                                           responsible for interpreting said documents and for taking
                                                                           appropriate action. Signatures on certified mail receipts
                                                                           confirm receipt of package only, not contents.
Case 5:19-cv-00659-AG-KK Document 1-1 Filed 04/11/19 Page 2 of 15 Page ID #:13

                                                           Service of Process
                                                           Transmittal
                                                           03/12/2019
                                                           CT Log Number 535085994
   TO:    Mark Goldzweig
          Kia Motors America, Inc.
          111 Peters Canyon Rd
          Irvine, CA 92606-1790

   RE:    Process Served in California

   FOR:   KIA MOTORS AMERICA, INC.  (Domestic State: CA)




   TELEPHONE:                        213-337-4615




                                                           Page 2 of  2 / AS
                                                           Information displayed on this transmittal is for CT
                                                           Corporation's record keeping purposes only and is provided to
                                                           the recipient for quick reference. This information does not
                                                           constitute a legal opinion as to the nature of action, the
                                                           amount of damages, the answer date, or any information
                                                           contained in the documents themselves. Recipient is
                                                           responsible for interpreting said documents and for taking
                                                           appropriate action. Signatures on certified mail receipts
                                                           confirm receipt of package only, not contents.
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                                                 3/12/19 @ 2:50pm


                                          SUMMONS                                                                           FOR COURT USE ONLY
                                                                                                                        (SOLO PARA Use DC L.A CORTE)
                                   (CITACION JUDICIAL)
 NOTICE TO DEFENDANT:
 (AVISO AL DEMANDADO):
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eKIAMOTORS AMERICA. INC.; and DOES ONE through TEN                                                                        Ci,ehlit 1? I'MIQ110F.


 YOU ARE BEING SUED BY PLAINTIFF:                                                                                          FEB 192019
 (LO ESTA DEMANDANDO EL DEMANDANTE):
 DEANNA DANIELIAN, and MARC DANIELIAN                                                                           .JLThmien
  NO I IUIzI   You nave Dean suea, i no cowl may decide against you without your being hoard unless you respond within
                                                                                                                               30 days. Head the information
  below.
                                                                         -
    You have 30 CALENDAR DAYS after this summons and legal papers are served on you to              lila a written response at this court and have a copy
  served on the plaintiff. A letter or phone call will not protect you. Your mitten response must be In proper legal
                                                                                                                      Form If you want the court to hoar your
  case. There may be a court Form that you can use For your response. You can find those court Forms and more
                                                                                                                        information at the California Courts
 Online Self-Help Center (www.courfinfo.ca.gov/sat/ba/p), your county law library, or the courthouse nearest you.
                                                                                                                         Ifyou cannot pay the filing foe, ask
  the court clerk For a foe waiver Form. If you do not file your response on time, you may lose the case by default,
                                                                                                                        and your wages, money, and property
 may be taken without Further warning from the court.
     There are other legal requirements. You may want to call an attorney right away. IF you do not know an attorney,                  -
                                                                                                                             you may want to call an attorney
 referral service. If you cannot afford an attorney, you may be eligible For Free legal services from a nonprofit
                                                                                                                    legal services program. You can locate
 theso nonprofit groups at the California Legal Services Web site (www.lawheipcaltfomto.org ), the California Courts
                                                                                                                            Online Self-Help Center
 (www.counln(o.ca 'go v/selfhelp), or by contacting your local court or county bar association.
                                                                                                  NOTE: The court has a statutory lien for waived fees and
 costs on any settlement or arbitration award of $10,000 or more In a civil case. The court's lien must
 jAy/SO! to hen dornàndado. S/no responds denim do 30 dies, Is cotta puede dec/dir
                                                                                                            be paid before the court will dismiss the case,
                                                                                             on su contra sin oscuctiar su versiOn. Lea Is lnforrnacj'dn a
 continua dOn.                -      -                 - -

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                               County of Riverside
(El nombro y dbrocciOn dots code Os):
4050 Main Street, Riverside, CA 92501-3704                                                                                  190 1606
The name, address, and telephone number of plaintiff's attorney, or plaintiff without an attorney,
                                                                                                               Is:
(El nombre, la direcciOn y of nUmoro do told fosio dol abogado del demandanto, o dot demandanto quo no hone abogado,
                                                                                                                                               Os):
Law Offices of Jon Jacobs; 5701 Lonetrce Blvd., Suite 202; Rocklin, CA 95765; (916) 663-6400

DATE:
(Fecha)
               FEB 1: * 7019                                                  Clerk, by
                                                                              (Socrotarto)
                                                                                                                                                      ,   Deputy
                                                                                                                                                       (Adjust a)
      'reel of service of this summons, use Proof of Service of Summons (form P03-010).)     - -



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ISEALI
                                     NOTICE     TO THE       rcnourl ocnvcu; You are SUFVOU
                                     1,   C as an individual defendant.
                                                as the person sued under the fictitious name of (specify):

                                          EZon behalf of (specify): <          Motors America, Inc.
                                          under:   C         CCP 416.10 (corporation)
                                                                                                          IJ         CCP 416.60 (minor)
                                                             CCP 416.20 (defunct corporation)                        CCP 416.70 (conservatee)
                                                                                                          C
                                                   C.        CCP 416.40 (association or partnership)                 CCP 416.90 (authorized person)
                                                   C other (specify):
                                               by personal delivery on (dale):         3/12/19
  Judicial Couedl                                                      SUMMONS                                                  CodecdCW Procedure jli 412.2e, 455
  suM-lie (Re,.                                                                                                                                www.cwil,'ilo.ce,0ov
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     Case 5:19-cv-00659-AG-KK Document 1-1 Filed 04/11/19 Page 4 of 15 Page ID #:15




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                                                                                 $UPLPjOI' '.'':   C'',IrOflNIA
 I       Jon P. Jacobs (SBN 205245)                                                  Col. 1,           II)F
         Ryan H. Gomez (SDN.305208)
 2       LAW OFFICES OF JON JACOBS                                                     FLfl 19 2013
         5701 Lonetree Blvd., Suite 202
 3       Rocklin, CA 95765                                                           K. Thomson
         Telephone: (916) 663-6400
 4       Facsimile: (916) 663-6500

 5       Attorneys for Plaintiffs
         DEANNA DANIELIAN, and
 6       MARC DANIELIAN

 7

 8                     SUPERIOR COURT OF THE STATE OF CALIFORNIA
                              FOR THE COUNTY OF RIVERSIDE
 9

10       DEANNA DANIELIAN, and
         MARC DANIELIAN,
                                                            CASE No.:    RIC 190 1606
11                                                          COMPLAINT FOR DAMAGES AND
                         Plaintiffs,                        INJUNTIVE RELIEF
12
         V.                                                 Violations of:
13                                                              •   Song—Beverly Consumer Warranty
         KIA MOTORS AMERICA, INC.; and                              Act (Express and Implied Warranties)
14       DOES ONE through TEN,
                                                              • Magnuson—Moss Warranty Act
15                       Defendant.                              (Express and Implied Warranties)
                                                            UNLIMITED JURISDICTION DAMAGES
16                                                          EXCEED $25,000
17       Plaintiffs allege:
                                       FACTS COMMON TO-ALL COUNTS
18

19               Defendant KIA MOTORS AMERICA, INC. ("Kia") is a duly authorized corporation

20               doing business in Riverside County, California.

21               Plaintiffs DEANNA DANIELIAN, and MARC DANIELIAN (collectively, "Plaintiffs")

22               are ignorant of the true names and/or capacities of the Defendants sued herein under the

23               fictitious names DOES ONE through TEN. They are sued herein pursuant to C.C.P.

24               § 474. When Plaintiffs become aware of the true names and/or capacities of these
25               Defendants, Plaintiffs will amend this Complaint to state their true names and capacities.

26               On or about March 1, 2017, Plaintiffs purchased a brand new 2017 Kia Optima Hybrid,

27              VIN: KNAGT4LC8H5005445 in California, which was manufactured and/or distributed,

28              and warranted, by Kia.


         Danielian v. Kia Motors America, Inc.                                                      Complaint
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 I               In connection with the transaction, Kia issued to Plaintiffs express warranties within the

 2               meaning of Cal. Civ. Code § 1791.2, which were also written warranties within the

 3               meaning of 15 U.S.C. § 2301(6). By the terms of the express warranties, Kia promised

 4               that the Vehicle's materials and workmanship would be free of defects, undertook to

 5               preserve and maintain the utility and performance of the Vehicle, and to provide

 6               compensation if there is any failure in utility or performance, and agreed to refund,

 7               repair, replace, or take other remedial action with respect to the Vehicle.

 8               Plaintiffs purchased the Vehicle primarily for personal, family, or household purposes.

 9               Subsequent to Plaintiffs' purchase, the Vehicle exhibited numerous defects and

10               nonconformities covered by the warranties, which substantially impair the use, value, and

11               safety of the Vehicle to Plaintiffs. The defects and nonconformities include, but are not

12               limited to the following (mostly written by the servicing dealer):

13                Problems                                        Date      fldn.        flays
                              -
                                                                                                    Pfl ft
         Hybrid Starter VERIFIED Hybrid
                          -              -                      05/15/17    7,755         31       6033832
14       starter generator pulley nut. Per service
         action to inspect and replace hybrid starter
15       generator, HSG unit.
16       Recall Recall part ordered do not drive car
                -




17       Check Engine Light -VERIFIED Check:     -              06/06/17    8,574          4       6034354
         engine light, diag fee estimate. Customer
18       states HEV light on, hybrid warning system
         lack of power on accelerator. Teclr ran KDS
19       test and found hitory codes only, ran pin
         point test. Tech corrected pin tension at
20       PCMand ESC connectors pin 77/60 PCM
         19/20IBAU, tech road tested 'vehicle 40
21       miles and normal operation restored, no
         other problems found.
22
         Check Engine Light -:2nd Repair Attempt        -       06/14/17    9,384          1      6034538
23       VERIFIED Check engine light, diag fee
                     .


         estimate. C/S hybrid warning light comes
24       on, not safe to drive. Tech ran KDS test and
         found history codes for gear fault, esc and
25       c224308, BSPL C164681 can fail, BSDR
         C164681 can fail. Tech adjusted PIN
26       tension at ECI 1, checked operation, no
         other problems found.
27

28

                                                            2
         Danielian v. Kia Motors America, Inc.                                                    Complaint
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 I   Transmission -VERIFIED -Driveability                   06/19/17    10,028   9   6034662
     concern, diag fee estimate. C/S hybrid
 2   warning light comes on, Allstar Kia ran
     codes c224308 activate code, also blind spot
 3   detection warning light came on. Tech
     found inhibitor switch faulty, causing hyb
 4   light comes on. Kia techline opened.
     Replaced inhibitor switch, test drove 22
 5   miles no lights came back on.
 6   Check Engine Light 3rd Repair Attempt
                            -                       -       11/20/18    25,223   2   6038398
     Customer states check engine light came on
 7   and went off. No check engine light on
     currently, ran KDS test and found history
 8   code P045600 small evap emission system
     leak, ran evap system test several times and
 9   no leaks detected, road tested, performed
     evap drive cycle test, no leaks deteóted,
10   scanned and performed additional evap
     system test, no leak and performed
11   additional evap system test, no leak
     detected, possible gas cap leak, no problems
12   found at this time.
13   Check Engine Light 4th Repair Attempt
                            -                       -       05/16/18    41,637   9   6043382
     VERIFIED C/S check engine light is on,
                 -


14   engine control system code. Tech ran KDS
     test found P045600 for evap emission
15   system leak detected, and P0073 motor
     electronics coolant pump a control
16   performance, ran coolant pump test with
     KDS test and found normal operation ran
17   evap system leak test, failed test,, opened
     techline case, techline advised to replaced
18   electronic water pump. Tech removed and
     replaced eqp assembly, checked operation,
19   no other codes or probleths found at this
     time.
20
     Transmission 2nd Rep4ir Attempt
                     -                       -

21   VERIFIED Inhibitor switch replacement.
                 -


     Tech performed SA3 17A per Kia service
22   action.
23   Check Engine Light 5th Repair Attempt                  07/09/1 8   47,766   3
                            -                       -
                                                                                     6044851
     VERIFIED- C/S check engine light is on,
24   no driveability. Tech inspected vehicle, ran
     code, found code P045600 for evaporative
25   emission system leak detected, very small
     leak, tech performed evap test, passed,
26   followed hey flow chart, found faulty fuel
     pressure sensor. Sensor assy-pressure tech
27   removed and replaced fuel pressure sensor
     per service bulletin, performed overnight
28   soaked, checked operation, no other




                                                        3
     Danielian v. Kia Motors America, Inc.                                           Complaint
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 1       problems found at this time.
 2       Check Engine Light - áth Repair Attempt          -   07/27/18   49,795   7    6045433
         VERIFIED C/S Intermittent check engine
                      -

 3       tight, see history. Tech ran KDS test and
         found P1236 history code for active airfiap
 4       voltage low, ran actuation test and operating
         normal, test drove vehicle, code came back
 5       in hiStory, found impact damage, removed
         bumper, normal graph readings, found horn
 6       assembly interfering with lower active
         airfiap module. Tech adjusted horn
 7       assembly at active airfiap module, check
         operation, retested vehicle, test drove
 8       vehicle, no other codes or problems found at
         this time, tech sent flight record to Kia for
 9       further research and information.
10       Check Engine Light- 7th Repair Attempt-              01/10/19   68,517   14   6050146
         VERIFIED Customer states check engine
                      -

11       light is on again, duplicate concern, see
         history, check airfiap light on. Tech
12       inspected vehicle, ran KDS test and found
         history code P1236 active airfiap voltage
13       low and P123B active airfiap 3 system fail,
         ran actuation test and left upper airflap
14       responded once then wag inoperable, test 1
         all airfiaps open, test 2 tight front flap only,
15       test 3 lower flap only. Tech found all.
         airfiaps operating as designed, submitted
16       videos to Kia last visit and tech was made
         aware that vehicle is operating as normal at
17       this time, tech recommending replacing left
         upper airfiap due to repeat concern
18       estimated repair $450, customer is declining
         at this time due to intermittent concern, will
19       return if problem persists.
20       Check Engine Light 8th Repair Attempt
                                -                      -      01/24/19   68,653   6    6050532
         Check engine light, diag fee estimate
21       customer states. Customer states check
         engine light is on, check active air flap
22       system on again. Tech ran KDS test and
         found code P1.236 history. Test Drove
23       vehicle several drive cycles, road tested, set
         up flight record. Tech unable to duplicate
24       customers concern at this time.
25       Power Outlet VERIFIED Body elect
                          -            -


         concern, diag fee estimate. Customer states
26       fight power outlet is mop, check ad advise.
         Tech inspected vehicle and found right
27       power outlet fuse blown. Tech removed and
         replaced right power outlet 20amp fue,
28       checked operation, no other
                                     problems found .




         Danielian v. Kia Motors America, Inc.                                         Complaint
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 I       at this time.

 2
                 Plaintiffs delivered the nonconforming Vehicle to Kia and/or its authorized repair
 3
                 facilities for repairs pursuant to the terms of the warranties. Kia has failed to repair the
 4
                 Vehicle, or replace the Vehicle or provide restitution after a reasonable number of repair
 5
                 attempts.
 6
                                        FIRST CAUSE OF ACTION
 7                   Breach of Express Warranty—Song—Beverly Consumer Warranty Act
                                                Against Kin
 8
                 Plaintiffs incorporate all preceding paragraphs.
 9
                 Plaintiffs are each a "buyer" as defined by Cal. Civ. Code § 179 1(b).
10
                 The Vehicle is a "consumer good" as defined by Cal. Civ. Code § 1791(a).
11
                 Kia is a "warrantor" as contemplated by Cal. Civ. Code § 1795.
12
                 Plaintiffs' purchase of the Vehicle was a "sale" as defined by Cal. Civ. Code § 1791(n).
13
                 Kia violated the Song—Beverly Consumer Warranty Act by failing to conform the
14
                 Vehicle to the express written warranties within a reasonable number of repair attempts
15
                 or within the warranty periods, and by failing to promptly replace the Vehicle or make
16
                 restitution to Plaintiffs.
17
                The above-described defects, malfunctions, and nonconformities substantially impair the
18
                 use, value, and safety of the Vehicle.
19
           15    Plaintiffs have not made unreasonable or unintended use of the Vehicle.
20
                 Pursuant to Cal. Civ. Code § 1793.2(d), Kia must refund the price of the Vehicle to
21
                 Plaintiffs.
22
                 Pursuant to Cal. Civ. Code § 1794(a), Plaintiffs are entitled to restitution.
23
                As a direct and proximate result of said violations of the Song—Beverly Act, Plaintiffs
24
                 have sustained, and continue to sustain, actual, incidental and consequential damages in
25
                the approximate amount of $31,300.00 according to proof.
26
                The failure of Kia to comply with the Song—Beverly Act was willful in that Kia had
27
                actual knowledge of the Vehicle's defects, malfunctions, and nonconformities, knew of
28

                                                           5                                       -



         Danjetian v. Kia Motors America, Inc.                                                         Complaint
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 I               its legal duties under the warranties and the Act, but repeatedly refused to make

 2               necessary repairs and/or provide a refund.

 3         20.   Pursuant to Cal. Civ. Code § 1794(c), Plaintiffs are entitled to a civil penalty of two times

 4               the amount of Plaintiffs' actual damages.

 5         21.   Pursuant to Cal. Civ. Code § 1794(d), Plaintiffs are entitled to attorneys' fees and

 6               expenses reasonably incurred in connection with this action.

 7                                     SECOND CAUSE OF ACTION
                     Breach of Implied Warranty—Song—Beverly Consumer Warranty Act
 8                                         Against All Defendants
 9         22.   Plaintiffs incorporate all preceding paragraphs.

10         23.   Pursuant to Cal. Civ. Code § 1792, the Vehicle was accompanied by each Defendant's

11               implied warranty that the goods are merchantable.

12         24    Pursuant to Cal. Civ. Code § 1793, and because of the existence of the express warranty,

13               Defendants may not disclaim, limit, or modify the implied warranties provided by the

14               Song—Beverly Act.

15         25.   Defendants breached the implied warranty of merchantability as stated in Cal. Civ. Code
16               §§ 1791.1 and 1792 in that the above-described defects, malfunctions, and

17               nonconformities render the Vehicle unfit for the ordinary purposes for which it is used,

18               and it would not pass without objection in the trade.

19         26.   Pursuant to Cal. Civ. Code § 1794(a), Plaintiffs are entitled to restitution.

20         27. As a direct and proximate result of said breach of implied warranty, Plaintiffs have

21               sustained and continue to sustain, actual, incidental and consequential damages in the

22               approximate amount of $31,300.00 according to proof.

23         28.   Pursuant to Cal. Civ. Code § 1794(d), Plaintiffs are entitled to attorneys' fees and

24               expenses reasonably incurred in connection with this action.

25                                        THIRD CAUSE OF ACTION
                                 Violations of the Magnuson—Moss Warranty Act
26                                                  AgainstICia
27        29.    Plaintiffs incorporate all preceding paragraphs.

28        30.    The Vehicle is a "consumer product" as defined by 15 U.S.C. § 2301(1).

                                                           6
         Danielian v. Kia Motors America, Inc.                                                     Complaint
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 1           Plaintiffs are each a "consumer" as defined by 15 U.S.C. § 2301(3).

 2           Kia is "supplier" and a "warrantor" as defined respectively by is U.S.C. §§ 2301(4)

 3           and (5).

 4           The express written warranties are "written warranties" as defined by 15 U.S.C.

 5           § 2301(6).

 6           Kia violated the Magnuson—Moss Warranty Act by failing to conform the Vehicle to the

 7           express written warranties within a reasonable number of repair attempts, a reasonable

 8           amount of time, or within the warranty periods. Kia failed to cure its failure to comply

 9           with the Act.

10           Prior to commencing this action, Plaintiffs afforded Kia reasonable opportunities to cure

11           the failures and to comply with the Act.

12           Pursuant to 15 U.S.C. § 2310(d)(1), Plaintiffs are entitled to the equitable remedies of

13           rescission and restitution and/or damages. Plaintiffs revoke acceptance of the Vehicle and

14           rescind the contract. Plaintiffs are entitled to restitution of all consideration given.

15           As a proximate result of the violations of the Act, Plaintiffs have sustained and continue

16           to sustain, damages, both economic and noneconomic, in the approximate amount of

17          $31,300.00.

18           Pursuant to 15 U.S.C. § 2310(d)(2), Plaintiffs are entitled to attorneys' fees and expenses

19          reasonably incurred in connection with this action.

20                                 FOURTH CAUSE OF ACTION
                     Breach of Implied Warranty—Magnuson—Moss Warranty Act
21                                     Against All Defendants
22          Plaintiffs incorporate all preceding paragraphs.

23          Pursuant to 15 U.S.C. § 2301(7), the breaches by each Defendant of the state-law implied

24          warranties, as set forth above, also constitute breaches of the implied warranties pursuant

25          to the Magnuson—Moss Warranty Act.

26          Pursuant to 15 U.S.C. § 2310(d)(1), and because of said breaches of implied warranties,

27          Plaintiffs are entitled to the equitable remedies of rescission and restitution and/or

28          damages. Plaintiffs revoke acceptance, rescind the contract, and claim full restitution.

                                                        7
     Danielian v. Kia Motors America, Inc.                                                         complaint
 Case 5:19-cv-00659-AG-KK Document 1-1 Filed 04/11/19 Page 11 of 15 Page ID #:22




 1           As a proximate result of the breaches of implied warranties, Plaintiffs have sustained and

 2           continue to sustain, damages, both economic and noneconomic, in the approximate

 3           amount of $31,300.00.

 4           Pursuant to 15 U.S.C. § 2310(d)(2), Plaintiffs are entitled to attorneys' fees and expenses

 S           reasonably incurred in connection with this action.

 6                                       PRAYER FOR RELIEF
 7             A declaration that the sales contract is rescinded;

 8             A declaration that Kia has been given a reasonable number of repair attempts and/or

 9             days to conform the Vehicle to the warranty;

10             Actual damages according to proof;

11             Restitution of all consideration given by Plaintiffs and/or paid out toward the Vehicle;

12             civil penalties under the Song—Beverly Act in the amount of two times actual damages;

13             Reasonable attorneys' fees according to proof;

14             Costs and expenses reasonably incurred in connection with this action; and

15             Such other relief as the Court deems just and proper.

16   Dated: January     f, 2019                                      LAW OFFICES OF JON JACOBS
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     Danielian v. Kia Motors America, Inc.                                                    Complaint
 Case 5:19-cv-00659-AG-KK Document 1-1 Filed 04/11/19 Page 12 of 15 Page ID #:23


      rToRNEYpR PARTY     A1T9NEY (N.mL SI8w aunt01
      Jon P. jacobs (V120524): Ryan H. t..jomcz                                                                             FOR COURT USE   ONLY
      Law Offices of Jon Jacobs
      5701 Lonetree Blvd., Suite 202

          TELEPHONE NO.:                                      FN( NO.:

       ERIOR COURT OF CALIFORNIA! COUNTY OF
        STREETADDRESS: 4050 Main Street
        MAILINGADDRESS: 4050 Main Street
       CITYA}IOZIPcODE: Riverside 92501

     CASE NAME:


I       CIVIL CASE COVER SHEET             I                                                                  CA$]U
                                                                 Complex Case Designation
I£11 Unlimited              C
                          Limited                    I       c                     C Joinder                                 1 90 16 0 6 I
II   (Amount              (Amount                    I              Counter
                                                                                                       I
         demanded         demanded is      I                Filed with first appearance by defendant I JUDGE
I        exceeds $25,000) $25,000 or less)           I          (Cal. Rules of Court, rule 3.402)      J DEPT:                                            I
                                                                                                                                                          I
      Check one box below for the case type that          jest describes this case:
      Auto Tort                                           Contract                                     Provisionally Complex Civil Litigation
      C     Auto (22)                                     2J     Breach of contracUwarranty (06)       (Cal. Rules of Court, rules 3.400-3.403)
      C     Uninsured motorist (46)                              Rule 3.740 collections (09)                 AntitrusuTrade regulation (03)
      Other PIIPO/WD (Personal Injury/Property                   Other collections (09)               EJ Construction defect (10)
      oamegoMrongfui Death) Tort
      C                                                   EJJ    insurance coverage (18)              El Mass tort (40)
      El
            Asbestos (04),
                                                          C.     Other contract (37)                  C Securities litigation (28)
            Product liability (24)                        Real Property                               EJ Environmental/Toxic tort (30)
      C
            Medical malpractice (45)
            Other PI/PDMD (23)
                                                          LJ     Eminent domain/Inverse
                                                                 condemnation (14)
                                                                                                      C Insurance   coverage claims arising from the
                                                                                                         above listed provisionally complex        case
      Non-PI/PO/WD (Other) Tort                             :i   Wrongful eviction (33)                      types (4 1)
            Business tort/unfair business practice (07)   C      Other reel property (26)             Enforcement of Judgment
            Civil rights (08)                             Unlawful Caterer                                   Enibreement of Judgment (20)
            DefamatIon (13)                               C Commercial (31)                           Miscellaneous Civil Complaint
            Fraud (16)                                    C: Residential (32)                         C RICO (27)
      El Intellectual property (19)                       C Drugs (38)                                E1 Other complaint (not spec/fled above) (42)
      EJ Professional negligence (25)                     Judicial Review
      C Other non.Pl/PDIWD tort (35)                             Asset fokellure (05)
                                                                                                      Miscellaneous Civil Petition
                                                                                                      IJ Partnership and corporate governance (21)
                                                          [II    Petition r& arbitration award (11)
                                                                                                      IjOther petition (nol specified above) (43)
             Wrongful termination (36)
             Other emolovment (151
                                                          C      Will of mandate,(02)

2. This Case L....J is    L,jJ is not      complex under rule 3.400 of the California Rules of Court. if the case is complex, mark the
   factors requiring exceptional judicial management:
         C Large number of separately represented parties                    d. C Large number of witnesses
         0 Extensive motion practice raising difficult or novel              e. C Coordination with related actions pending in one or more courts
             Issues that will be time-consuming to resolve                         in other counties, states, or countries, or in a federal court
         ED, Substantial amount of documentary evidence                      I. EJ Substantial postjudgment judicial supervision
3, Remedies sought (check all that apply): a.1Z monetary b. Ez nonmonetary; declaratory
                                                                                        or injunctive relief C. =punitive
   Number of causes of action (specify): Four
       This case L_J Is       LsLJ is not a class action suit.
       If there are any known related cases! file and serve a notice of related                       may use form CM-015.)
Date:     January    31, 2019



     • Plaintiff must file this cover sheet with the first paper filed in the action or prbceedlng (except s7lill claims
                                                                                                                         aces or cases filed
        under the Probate Code, Family Code, or Welfare and Institutions Code). (Cal. Rules of Couf rule 3.220.)
                                                                                                                         Fà ure to file may result
        In sanctions.
     • File this cover sheet In addition to any cover sheet required by local court rule:
     • If this case Is complex under rule 3.400 at seq. of the California Rules of Court, you must serve a copy,
                                                                                                                          s cover sheet on all
        other parties to the action or proceeding.
     • Unless this isacollections case under rule 3.740 or a complex case, this cover sheet will be used for statistical
                                                                                                                             purposes on!y.
                        U.
                                                          CIVIL CASE COVER SHEET
    Case 5:19-cv-00659-AG-KK Document 1-1 Filed 04/11/19 Page 13 of 15 Page ID #:24



                                    INSTRUCTIONS ON HOW TO COMPLETE THE COVER SHEET                                                        CM-010
 To Plaintiffs and Others Filing First Papers. If you are filing a first paper (for example,
                                                                                                       a complaint) In a civil case, you must
 complete and file, along with your first paper, the Civil Case Cover Sheet contained on page 1. This information
                                                                                                                           will be used to compile
 statistics about the typos and numbers of cases filed. You must complete Items 1 through Ban the sheet;
                                                                                                                      In item 1, you must check
 one box for the case type that best describes the case. If the case fits both a general and a more specific type
                                                                                                                           of case listed In Item 1,
 check the more specific one. if the case has multiple causes of action, check the box that best indicates the primary
                                                                                                                                   cause of action.
 To assist you In completing the sheet, examples of the cases that belong under each case type in Item I are provided
                                                                                                                                    below. A cover
 sheet must be filed only with your initial paper. Failure to file a cover sheet with the first paper filed In a civil case
                                                                                                                              may subject a party,
 Its counsel, or both to sanctions under rules 2.30 and 3.220 of the California Rules of Court.
 To Parties in Rule 3.740 Collections Cases. A 'collections case' under rule 3.740 is defined
                                                                                                          as an action for recovery of money
 owed In a sum stated to be certain that is not more than $25,000, exclusive of Interest and attorneys fees,
                                                                                                                     arising from a transaction in
 which property, services, or money was acquired on credit. A collections case does not Include an action
                                                                                                                   seeking the following: (1) tort
 damages, (2)punitive damages, (3) recovery of real 'property, -(4) recovery of personal: property,
                                                                                                                 or (5) a prejudgment writ of
 attachment. The Identification of a case as a rule 3.140 collections case on this form means that it
                                                                                                               will be exempt from the general
 time-for-service requirements and case management rules, unless a defendant files a responsive pleading. -A
                                                                                                                            rule 3.740 collections
 case will be subject to the requirements for service and obtaining a judgment In rule 3.140.
 To Parties In Complex Cases. 1r omplex cases only, - parties must also use the Civil Case
                                                                                                        Cover Sheet to designate whether the
 case is complex. If a plaintiff believes the case is complex under rule 3.400 of the California Rules of
                                                                                                               Court, this must be indicated by.
 completing the appropriate boxes in Items 1 and 2. If- a plaintiff designates a case as complex, the cover
                                                                                                                 sheet must be served with the
 complaint on all parties to the action. A defendant may file and serve no later than the time of its first appearance
                                                                                                                                   a joinder in the
 plaintiffs deslgnátion,- a counter-desIgnation that the case Is not complex, or, if the plaintiff has made no designation,
                                                                                                                                 a designation that
 the case Is complex;                       -    -                           -
                                                           CASE TYPES AND EXAMPLES
 Auto Tort                                        contract                       --                  Provisionally Complex civil Litigation (cal.
                                                                                                                                                          -


     Auto (22)-Personal Injury/Property                      Breath of Contractarranty(06)                     Ruin of court Ruin 3.4004403)                  -
         Damage/Wrongful Death                                  Breach of RentatiLeaso                              Antitrust/Trade Regulation (03)
     Uninsured Motorist (48) (Itt/s                                 Contract (net unlawful c/stainer,               construction Defect (10) -
         case Involves an uninsured                                    or wrongful eviction)                        Claims Involving Mass Tort (40)
         mctoilst claim subject to                              Contract/Warranty Breach-Seller                     Securities Litigation (28)
         arbitration, check this Item                               Plaintiff (not fraud or negligence)             EnvirenmontaliToxic Tort (30)
         instead a/Auto)                                        Negligent Breath of Contract/                      insurance Coverage Claims
 Other P1/PDPHD (Personal Injury!                                   Warranty                                           (arising from provisionally complex
Property Damagerongf
              m      ui Death)                                   Other Breath of contract/Warranty                     case type listed above) (41)
Tort                         -                               Collections (e.g., money owed, open                Enforcement of Judgment
         Asbestos (04)                                           book accounts) (09)                                Enforcement of Judgment (20)      -
          Asbestos Property Damage                           Collection Case-seller Piatitifi                            Abstract of Judgment (Out of
          Asbestos Personal injury/                          Other Promissory Note/Collections                              .  county)       -     --
                Wrongful Death.                                  Case             -                                     Confession of Judgment (non.
    ProductLiability (not asbestos or                 Insurance Coverage (not provisionally                                  . domestic relations)
          toxlcienvlmnmentel) (24)                           complex) If 8) -                                           Slat or State Judgment
    Medical Malpractice (45)                                 Auto Subrogation                                            Administrative Agency Award
         Medical Malpractice-                                Other Coverage                                                 (not unpaid texas)
                Physicians & Surgeons                 Other Contract (37)                                               Petltlo&Cortiflcailon or Entry of
         Other Professional Health Care                     Contractual Fraud                                               Judgment an Unpaid Taxes
                Malpractice                              - Other contract Dispute
                                                              ..                                                        Other Enforcement of Judgment
    Other PIJPDMD (23)                            Real Property                                                                Case
         Premises Liability (e.g., slip               Eminent Domalrtlinverse                                   Miscellaneous Civil Complaint
                and fail)                                   Condemnation (14)                                      RICO (27)
         Intentional Bodily lnluiyIPDIWD              Wrongful Eviction (33)                                       Other Complaint (not specified
                      assault, vandalism)             Other Real Property (e.g., quiet (file) (26)                      above) (42)
         Intentional Infliction of,                         Writ of Possession of Real Property                         Declaratory Relief Only
                Emotional Distress                          Mortgage Foreclosure                                        Injunctive Relief Only (non-
        Negligent Infliction of                             Quiet Title                                                    -  harassment)
              - Emotional Distress                          Other Real Properly (not eminent                            Mechanics Lien
       ,Other Pi/PD/WD
           -                                                domain, ianr/lo,dlronant, or                                Other Commercial complaint
Non-PIIPDIWD (Other) Tart                                   (Ore closure)                                                   ' Case (non-tori/non-complex)
-  Business Tort/UnrairBusiness                   uniiwiui Detolner                                                     Other Civil Complaint
       Practice (07)                                  Commercial (31)                                                       (non-tort/non-complex)
   Civil Rights (e.g.. discrimination.                                                                          Miscellaneous Civil Petition
                                                      Residential (32)          -
                                                                                                                   Partnership and Corporate
        raise arrest) (not civil                                                             -
                                                      Drugs (36) (if the case Involves Illegal
        harassment) (08)                                                                              '                 Governance (21)
               -
                                                            drugs, check this Item; otherwise,
   Defamation (e.g.1 slender, lIbel)                                                                               Other Petition (not specified
                                                            report as Commercial or Residential)
              13)                                 Judicial Review                                                       above) (43)
         Frauá U6)
                                                     -
                                                                                                                        CM Harassment
                                                      Asset Forfeiture (OS)
   Intellectual Properly (19)                                                               --                          WorkplaceVidenco
                                                      Petition Re: Arbitration Award (11)
   Professional Negligence (25)                 '     Will of Mandate (02)                                              ElderlDependent Mull
    - Legal Malpractice                                     Writ-Mmiiiilstrattvo Mandamus                                     Abuse
                                                                                                  .
       Other Professional Malpractice                     - Writ-Mandamus on Limited Court
                                                                                                      -                 Election Contest
           (not medical or legal) •                                                                                     Petition for Name Change
                                     .
                                                         '      Case Matter:                                           Petition for Relief From Late
    Other Non-PtiPDMD Tort (35)
    --
                                                            WrIt-Other Limited Court Case
Employment                                                                                                                    Claim
   Wrongful Termination (36):
     -
                                                               'Review                                                  Other Civil Petition
   Other Employment -(15)                             Other Judicial Review (39)
                                                            Review of Health Officer Order
                                                            Notice of Appeal-Labor
                                 -                              Commissioner Appeals            -         —-
Cl#ototRovAtyl, zoa      -   —
                                                             CIVIL CASE COVER SHEET                                                                 Pogs 2e12
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 I       Jon P. Jacobs (SBN 205245)                                             tuperr,r    1,      IFORNIA
         Ryan H. Gomez (SBN 305208)                                                              RiI)E
 2       LAW OFFICES OF JON JACOBS
         5701 Lonetree Blvd., Suite 202                                              FEB 192019
 3       Rocklin, CA 95765
         Telephone: (916) 663-6400                                                  K. Thomsen
 4       Facsimile: (916) 663-6500
 5       Attorneys for Plaintiffs
         DEANNA DANIELIAN, and
 6       MARC DANIELIAN

 7

 8                      SUPERIOR COURT OF THE STATE OF CALIFORNIA
                               FOR THE COUNTY OF RIVERSIDE
 9
10
          DEANNA DANIELIAN, and                                 CASENo.:RIC19O 1606
11        MARC DANIELIAN,
                                                                DECLARATION OF RYAN H. GOMEZ
12                         Plaintiffs,                          FOR FILING OF COMPLAINT

13,       v.


14        KIA MOTORS AMERICA, INC.; and
          DOES ONE through TEN,
15
                           Defendant.
16

17
               I, Ryan H. Gomez, declare:
18
               1.     I am an attorney at law duly admitted to practice before the courts of the State of
19
                      California and am the attorney of record for Plaintiffs DEANNA DANIELIAN, and
20
                      MARC DANIELIAN.
21
               2.    The following declaration is made upon my own true knowledge and belief of the
22
                      events which have occurred in this matter.
23
               3.    The Complaint filed concurrently herewith is filed in a proper place for the trial
24
                      thereof, for the reason(s) checked below:
25
               o      This is the county in which the subject matter of the action, or a substantial portion
26
                      thereof, occurred;
27
               O      This is the county in which the person against whom the action is brought resides;
28   1                                                      1

         Danielian v. Kia Motors America, Inc.                                                       Declaration
 Case 5:19-cv-00659-AG-KK Document 1-1 Filed 04/11/19 Page 15 of 15 Page ID #:26




 I H           PSA
                       This is the county in which the person against whom the action is brought has its
 2 P
                       principal place of business or is doing business; and/or
 3
               0       This is the county in which the parties entered into the subject transaction.
 4
               I declare under penalty of perjury under the laws of the State of California that the foregoin
                                                                                                                g
 5'
            is true and correct. Executed at Rocklin, California.


 7    IL
           Dated: January 31, 2019          -
                                                                         LAW OFFICES OF JON JACOBS


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           Danielian v. Kia Motors America, Inc.
                                                                                                       Declaration
